      Case 1:05-cr-00018-MP-AK           Document 73       Filed 11/30/05    Page 1 of 1


                                                                                        Page 1 of 1


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:05-cr-00018-MP-AK

ISREAL TRAVIS BISHOP,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 70, motion to continue sentencing , filed by

Isreal Travis Bishop. A hearing was held on November 23, 2005, during which the government

consented to the continuance. As stated during the hearing, the motion is granted and sentencing

is reset for Friday, January 13, 2006, at 10:00 a.m.


       DONE AND ORDERED this 30th              day of November, 2005


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
